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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,


vs.                                                    Criminal No. 09-744-07

LATIF KAMEL HAZIME,

____________________________________________________

               DEFENDANT’S AMENDED SENTENCING MEMORANDUM

       NOW COMES, your Defendant, Latif Kamel Hazime, by and through his counsel,

GARY EISENBERG, of EISENBERG, BENSON & FIELDS, PLLC, and hereby moves this

Honorable Court to consider the enclosed arguments contained herein.



             SENTENCING FACTORS FOR CONSIDERATION BY THE COURT

       Pursuant to 18 U.S.C. § 3553 (a) (2), a sentencing court must impose a sentence that is

“sufficient but not greater than necessary” to achieve the four purpose of sentencing

(retribution, deterrence, incapacitation, and rehabilitation) after consideration of the

following factors set-forth by Congress via statute:

       (1)     the nature and circumstances of the offense and the history characteristics of the

Defendant;

       (2)     the kinds of sentences available;

       (3)     the guidelines and policy statements issued by the Sentencing Commission,

including the advisory guideline ranges;

       (4) the need to avoid unwarranted sentencing disparity among defendants with similar

records that have been found guilty of similar conduct;
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       (5)     the need to provide restitution to any victim of the offense.

       Moreover, pursuant to 18 U.S.C. § 3582, the imposition of a term of imprisonment is

subject to the following limitation: in determining whether and to what extent imprisonment is

appropriate based on the factors in 18 U.S.C. § 3553 9a), the sentencing court is required to

“recogniz[e] that imprisonment is not an appropriate means of promoting correction and

rehabilitation.” 18 U.S.C. § 3582.

       A district court’s discretion in sentencing is broad in nature. See United States v. Parker,

462 F.3d 273, 277-78 (3d Cir.2006). At sentencing a district court must follow a three-step

process: (1) Courts must continue to calculate a defendant’s Guideline sentence precisely as they

would have before Booker. . .; (2) In doing so, courts must formally rule on the motions of both

parties and state on the record whether they are granting a departure and how that departure

affects the Guidelines calculation, and take into account our Circuit’s pre-Booker case law,

which continues to have advisory force. . .; (3) Finally, courts are required to exercise their

discretion by considering the relevant § 3553 (a) factors . . . in setting the sentence they impose

regardless of whether it varies from the sentence calculated under the Guidelines. See United

States v. Gunter, 462 F. 3d 237, 247 (3d Cir. 2006). This language seems to clearly indicate that

in the critical third step of the sentencing analysis, district courts must apply their own

independent judgment to the sentence to be imposed in light of the sentencing factors, yet they do

not need to pay heed to whether their judgment results in a sentence within the advisory

Guideline range. See United States v. Vampire Nation, 451 F.3d 189, 196 (3d Cir. 2006) (“the

Guidelines are now only one factor among many which can influence a discretionary sentence.

Application of [an advance notice requirement for sentences outside the applicable Guideline

range] would elevate the advisory sentencing range to a position of importance that it no longer
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can enjoy”); see also United States v. Coleman, 451 F.3d 154, 158 (3d Cir. 2006) (“the

Guidelines’ recommended range may be modified or disregarded by a different court upon

consideration of the other sentencing factors Congress has identified in § 3553 (a)’). The United

States Court of Appeals has rejected a per se presumption of reasonableness for within-range

guideline sentences. See United States v. Cooper, 437 F.3d 324, 331 (3dCir. 2006). According

to the Third Circuit, 18 U.S.C. § 3553 (a) requires that a district court “impose a sentence

sufficient, but not greater than necessary,” to comply with the statutory purposes of sentencing

under Section 3553.

       DEFENDANT’S AMENDED COMMENTS REGARDING PRE-SENTENCE
                       INVESTIGATION REPORT

       To clarify Defendant’s position he formally withdraws all objections to the pre-

sentencing investigation report. Further, Defendant is amending his previous memorandums

filed with this court and withdrawing his request that he be deemed a minor participant in the

criminal activity. Accordingly, Defendant is not seeking any decrease in offense level as

previously requested.

       Defendant fully intends to argue all of the other factors to be considered by the court for

sentencing purposes.



                                         CONCLUSION

       For all the reasons set-forth above, the Defendant respectfully requests that this

Honorable Court impose a sentence that would allow Defendant to comply with all probationary

terms after being return to his homeland of Margarita Island, Venezuela.
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                                   Respectfully Submitted:
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Dated: September 9, 2011

                              CERTIFICATE OF SERVICE

       I, Gary Eisenberg certify that on September 9, 2011, I electronically filed the
foregoing paper with the Clerk of the Court using the ECF system which will send
notification to ECF participants and that I have mailed the paper to all non-ECF
participants.


                                                 Eisenberg, Benson & Fields, PLLC

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